
182 Ga. App. 803 (1987)
357 S.E.2d 127
IN RE S. N. S.
73825.
Court of Appeals of Georgia.
Decided April 17, 1987.
Rehearing Denied May 5, 1987.
Bruce W. Callner, Kathy L. Portnoy, for appellant.
Michael J. Bowers, Attorney General, Carol A. Cosgrove, Senior Assistant Attorney General, for appellee.
BIRDSONG, Chief Judge.
This appeal of a termination of parental rights by the Juvenile Court of Fulton County is dismissed as improvidently granted. Cases involving termination of parental rights must be made by direct appeal, as they are not within the purview of OCGA § 5-6-35 (a) (2) requiring certain appeals to be made by discretionary application. In the Interest of R. L. Y., 180 Ga. App. 559 (349 SE2d 800).
Appeal dismissed. Deen, P. J., and Pope, J., concur.
